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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                            )
IN THE MATTER OF THE COMPLAINT OF           )
                                            )
HAPAG-LLOYD AKTIENGESELLSCHAFT              )
a/k/a HAPAG-LLOYD AG                        )     1:19-cv-05731-GHW-RWL
                                            )
AS OWNERS AND OPERATORS OF THE              )
M/V YANTIAN EXPRESS                         )
                                            )




                             MEMORANDUM OF LAW OF
                             APEX MARITIME CO., INC.
                           IN OPPOSITION TO MOTION BY
                        OCEAN NETWORK EXPRESS PTE. LTD.
                          TO DISMISS ON THE GROUND OF
                              FORUM NON CONVENIENS




Dated: New York, New York
       November 13, 2020

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           Claimant and Crossclaimant, Apex Maritime Co., Inc., (“APEX”), submits this Memoran-

dum in Opposition to the Motion of Ocean Network Express Pty. Ltd. (“ONE”) to dismiss APEX’s

Crossclaims. ECF-570. This motion, as it relates to APEX, concerns Test Claim No. 4 as de-

scribed in ONE’s Motion. 1


                                                 INTRODUCTION

           For the purposes of this motion only and unless noted to the contrary, APEX accepts the

Background statement of this case as set out at pages 1 – 7 of ONE’s Memorandum in Support of

the motion. ECF-574. (“ONE Memo”)

           APEX is a non-vessel owning common carrier (“NVOCC”) that issued over 60 of its own

bills of lading for the carriage of over 90 containers of cargo from Asia to the U.S. on the

YANTIAN EXPRESS. At the outset of this limitation action, APEX filed a Claim and Answer

asserting prospective indemnity claims against the limitation plaintiff HAPAG-LLOYD AG only

(“HAPAG”). ECF-87.

           Some of the cargo for which APEX entered into contracts of carriage with its customers

was then shipped by APEX with HAPAG under HAPAG master bills of lading, or with Third-

Party Defendant, YANG MING MARINE TRANSPORT CORP. (“YML”) under YML master

bills of lading. Under the terms of its Service Contract with ONE, 2 APEX shipped seventy-three

containers with ONE, for which ONE issued bills of lading to APEX or its agents.




1
  NVOCCs similarly situated to APEX in the context of this bellwether motion include those, in addition to APEX,
that are identified as Plaintiffs in the protective Writ filed in Singapore and attached to the Wai Affidavit in Support
(ECF-572) at ECF-572-2, page 64, and others. The protective Writ expressly pleads: “This action is without prejudice
to the Plaintiffs' rights to pursue their claims against the Defendant in the action initiated by Hapag Lloyd in the United
States District Court for the Southern District of New York, civil action number 19cv5731.”
2
    Attached to the Wyatt Declaration in Support of ONE’s Motion (“Wyatt Dec.”) as Exh. L, ECF 571-12.


                                                            1
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           In the case of the shipment that is the subject of Test Claim No. 4, both ONE and APEX

agreed to transport two containers said to contain coconut water from Thailand and deliver them

in New York. 3 Zurich American Insurance Company (“ZURICH”), asserting subrogation rights

with respect to the coconut water, filed a Third-Party Complaint (ECF-239) 4 against APEX and

others. In relevant part, ZURICH seeks a recovery on account of alleged damage to the coconut

water, including General Average and Salvage assessments against that cargo. APEX answered

ZURICH’S Third-Party Complaint and asserted Crossclaims against ONE for indemnity and con-

tribution for such sums as APEX might be held liable to ZURICH. ECF-435. 5 ONE contends that

the claims asserted in these Crossclaims may only be pursued in the Singapore High Court accord-

ing to clause 25 of ONE’s Bill of Lading. 6


                                        SUMMARY OF ARGUMENT

           APEX opposes ONE’s motion on grounds that the Singapore jurisdiction clause contained

in clause 25 of ONE’s Bill of Lading does not meet the standards for enforcement established in

Phillips v. Audio Active Ltd., 494 F.3d 378, 383-384 (2d Cir. 2007) because it is not mandatory.

Furthermore, APEX submits that this action is an example of the “exceptional case” Atl. Marine

Const. Co. v. U.S. Dist. Court for W. Dist. of Texas, 571 U.S. 49, 63 (2013) where “enforcement

would be unreasonable and unjust,” M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 15 (1972).

           As we will show below, the contract between APEX and ONE does not require the claims

to be asserted in Singapore.



3
 ONE’s “master” bill of lading and APEX’s “house” bill of lading for the test claim appear at ECF571-11 and ECF
573-5 respectively.
4
    Schmidt Declaration in Opposition to ONE’s Motion (“Schmidt Dec.”), Exh. 1.
5
    Schmidt Dec., Exh. 2; Donatelli Declaration in Support of ONE’s Motion (“Donatelli Dec.”) as Exh. D, ECF 573-4.
6
    Attached to the Wyatt Dec. as Exh. A, ECF 571-1.


                                                          2
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        Although ONE’s moving papers do not refer to it, ONE’s motion must be considered in

the context of forum non conveniens. Atlantic Marine, supra.

        Pertinent to forum non conveniens considerations are the facts that, (1) ONE seeks this

dismissal to impose a fundamentally unfair legal regime on APEX, in violation of the terms of

ONE’s own bill of lading, and (2) even if ONE’s motion were granted, ONE and APEX would

remain parties in a highly fragmented action that exposes APEX to inconsistent outcomes.

        ONE is subject to claims by parties not bound by its bill of lading terms. APEX is subject

to claims by parties for whose cargo HAPAG or YML issued the master bills of lading.

        HAPAG has invoked this Court’s jurisdiction and renounced reliance on the provision for

Hamburg jurisdiction contained in its bill of lading. ECF-159. YML’s bill of lading provides, in

case of transportation to or from the USA, for jurisdiction in this Court. (Schmidt Dec., Exh. 3 at

¶26) Claims relating to cargos subject to those parties’ bills of lading will remain before this Court

in any event. 7

        Given the vast number of interrelated claims, the relegation of APEX’s Crossclaims (and

by extension the claims of similarly situated NVOCC’s) to Singapore’s High Court would engen-

der needless multiplication of proceedings here and abroad. This will come at significantly in-

creased cost and expense of judicial time and resources, with potentially inconsistent results, in

circumstances where, even if this motion is granted, all parties will still be before this Court. If

the Motion is granted, the inefficient use of judicial time and resources will be hostile to the public

policy of this forum. The position in which it places APEX – requiring participation in what would

be largely duplicate and expensive litigation – implicates questions of difficulty and inconvenience




7
 The Hill Rivkins amended Third-Party Complaint was recently served on APEX. Unless the claims asserted there
are resolved, APEX will file an Answer with Crossclaims against ONE and YML.


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that effectively deprive it of its day in court. Martinez v. Bloomberg LP, 740 F.3d 211, 228 (2d

Cir. 2014).


                                               ARGUMENT

                             :     IT IS THE SERVICE CONTRACT, AND NOT
                                   THE BILL OF LADING, THAT CONTROLS
                                   THE SELECTION OF A PROPER FORUM

           The Terms and Conditions of ONE’s Service Contract with APEX provide: 8

           This Service Contract (“Contract”) is made between Ocean Network Express Pte.
           Ltd. (hereinafter called “ONE” or “CARRIER”) and Apex Maritime Co Inc (here-
           inafter called “Shipper”) and all members or affiliates named in Term 9, whereby
           the parties mutually agree as set forth in pages attached hereto. . . .

                                                   ***

           2. APPLICABLE TARIFF(S)

           This Contract incorporates by reference ONE’s Rates and Rules FMC Tariffs:
           ONEY-010, ONEY-020, ONEY-030, ONEY-101, ONEY-202, and/or subsequent
           re-issues thereto or otherwise applicable tariff, which includes ONE’s bill of lading
           Tariff, available electronically at www.one-line.com, where the statement of essen-
           tial terms shall also be available. With such incorporation, this is the full agreement
           between the parties and an exclusive statement of the terms of the Contract. In the
           event of any conflict between the terms and conditions of the above tariffs and
           those of this Contract, the latter shall control. . .

(Emphases added.)

           The Service Contract thus establishes a hierarchy of its terms. The terms of the “Contract,”

in general, prevail over the terms of the Bill of Lading.

           The terms of ONE’s Bill of Lading are reproduced in Wyatt Dec. Exh. A, ECF-571-1. The

Bill of Lading Tariff, ONEY-020, is reproduced in Wyatt Dec. Exh. B, ECF-571-2. As stated in

the Wyatt Declaration, ECF-571, ¶9, these are identical. Both contain the provision:




8
    Wyatt Dec., Exh. L, ECF-571-12, pp. 2-3.


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       25.     Governing Law and Jurisdiction

       25.1 Subject to Clause 25.2 below, the contract evidenced by or contained in this
       Bill shall be governed by Singapore law except as may be otherwise provided for
       herein. Unless otherwise agreed by the Carrier, any action against the Carrier here-
       under must be brought exclusively before the Singapore High Court. Any action
       by the Carrier to enforce any provision of this Bill may be brought before any court
       of competent jurisdiction at the option of the Carrier.

       25.2 For shipments to or from the United States of America (including its dis-
       tricts territories and possessions), the contract evidenced by or contained in this Bill
       shall be governed by U.S law.

                                                ***

       This Bill of Lading provision must be read in the context of the related clause of the Service

Contract. The Service Contract states in ¶11:

       To the extent terms about liability for damage to persons or property (including
       cargo), delays, mis-delivery, loss or any provision mandated by applicable law in
       ONE’s bill of lading conflict with this Contract, the bill of lading shall prevail.

(Emphasis added.)

       Thus, the Service Contract prevails except for the limited class of terms enumerated in ¶11

of the Service Contract. See, e.g., Eastern Fish Co. v. South Pacific Shipping Co., 105 F.Supp. 2d

234 (S.D.N.Y. 2000). None of those terms are involved here. ONE’s forum selection claim has

nothing to do with “terms about liability for damage to persons or property.”

       Terms “about liability for damage to persons or property (including cargo)” are found in

the Bill of Lading in clauses like ¶3 (Carrier’s Responsibility for loss or damage to goods), ¶4

(Limitation of Liability), ¶14 (Optional Stowage and Deck Cargo), ¶15 (Live Animals and Plants),

¶16 (Carriage Affected by Condition of Goods), ¶21 (Notification and Delivery), ¶22 (Notice of

Claim and Time for Suit) and ¶26 (US Clause Paramount).

       Moreover, “General Average” arises outside the contract of carriage and is not a “damage

to property.” In fact, it relates largely to an obligation on the part of the owners of undamaged



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property to contribute to the expenses HAPAG incurred to preserve the common maritime adven-

ture.

        The purpose of general average is to redistribute the burden of marine casualties
        and sacrifices incurred for the common safekeeping of interests in a marine voy-
        age. . . .

        . . . [G]eneral average refers to certain extraordinary sacrifices made or expenses
        incurred to avert a peril that threatens the entire voyage. In such a case the party
        sustaining the loss confers a common benefit on all the parties to the maritime ven-
        ture. As a result the party suffering the loss has a right—apart from contract or
        tort—to claim contribution from all who participate in the venture.

2 Schoenbaum Admiralty & Mar. Law § 17:1 (6th ed. 2019). (Footnotes omitted.)

        Both the general average loss and the contributions of parties are determined based
        upon the values existing at the time and place where the marine adventure ends.
        The mechanics of apportionment involve multiplying the value of each contributory
        interest by a fraction—the sum of the general average expense over the sum of all
        the contributory values. The York-Antwerp Rules provide precise guidelines for
        the determination of the general average expense when it is in the form of damage
        to cargo or damage to the ship. The Rules also specify the manner of calculating
        the contributory values.

Schoenbaum, § 17:4. (Footnotes omitted.)

        Thus, General Average relates to liability to the shipowner, not the carrier’s “liability for

damage to persons or property (including cargo).”

        As can readily be seen, it is the Bill of Lading Term, and not the nature of the case, which

must concern damage to property for the Bill of Lading to take precedence. Paragraph 25 of the

Bill of Lading, mandating resort to the High Court in Singapore, cannot reasonably be seen, in

context, as a “term about liability for damage to persons or property.” Neither the United States

Carriage of Goods by Sea Act, 46 U.S.C. 30701 Note (“COGSA”), nor another provision of ap-

plicable law, mandates resort to the Singapore High Court.




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          The Service Contract, therefore, controls the question of the forum for claims, like APEX’s,

for indemnity for the losses APEX might sustain if held liable to the owners or insurers of the

cargo for which APEX entered into transportation contracts pursuant to its bills of lading.


                            :   THE FORUM SELECTION CLAUSE IN
                                ONE’S SERVICE CONTRACTS AND
                                TARIFFS SELECT THIS COURT AS
                                THE FORUM FOR RESOLUTION OF
                                DISPUTES

          We note at the outset that ONE is clearly subject to personal jurisdiction in this Court.

Specific jurisdiction is present because ONE entered into a contract of carriage requiring it to

deliver the cargo that is the subject of Test Claim no. 4 in New York. “It can scarcely be doubted

that a[n] ocean carrier delivering cargo in New York would come within CPLR § 302(a)(1) as a

non-domiciliary who ‘transacts any business within the state’ and would thus be subject to suit for

breach of the contract of carriage.” Aquascutum of London, Inc. v. S. S. Am. Champion, 426 F.2d

205, 209 (2d Cir. 1970).

          The Second Circuit has articulated a four-prong test of enforceability of a forum selection

clause:

   1. Was the clause reasonably communicated to the party resisting enforcement?
   2. Is the clause mandatory or permissive, i.e., are the parties required to bring any dispute to
      the designated forum or simply permitted to do so?
   3. Are the claims and parties involved in the suit subject to the forum selection clause?
   4. Has the resisting party rebutted the presumption of enforceability by making a suffi-
      ciently strong showing that “enforcement would be unreasonable or unjust, or that the
      clause was invalid for such reasons as fraud or overreaching”?

See, Phillips at 383-384.

          Failure to satisfy any prong of the Phillips test alone dooms ONE’s motion.




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          In this instance, it is clear that the forum clause upon which ONE relies is not mandatory,

because it provides for ONE to agree to another jurisdiction, and ONE in fact did agree to suit in

this Court.

          The very wording of the forum selection clause in ONE’s Bill of Lading dooms its motion.

The ONE Bill of Lading clause at issue states: 9

          25.1 Subject to Clause 25.2 below, the contract evidenced by or contained in this
          Bill shall be governed by Singapore law except as may be otherwise provided for
          herein. Unless otherwise agreed by the Carrier, any action against the Carrier
          hereunder must be brought exclusively before the Singapore High Court. Any ac-
          tion by the Carrier to enforce any provision of this Bill may be brought before any
          court of competent jurisdiction at the option of the Carrier.

(Emphasis added.) ONE would have this Court overlook the critical words “Unless otherwise

agreed” from its forum selection clause, but of course these words have meaning and must be given

effect.

          The simple fact is that ONE did “otherwise agree” to personal jurisdiction in the Southern

District of New York, in its the Service Contract between ONE and APEX (“Service Contract”).

The Service Contract provides: 10

          The parties consent to the personal jurisdiction of, and venue in, any State Court in
          New York, New York, and the United States District Court for the Southern District
          of New York (collectively, a “New York Court”). 11

ONE’s Bill of Lading terms specifically allow it to “otherwise agree” to a different forum, and

ONE’s Service Contract specifically agreed to suit right here.


9
    Wyatt Dec. Exh. A. ECF 571-1, p. 22.
10
  Wyatt Dec. Exh. L. ECF 571-12, p. 5. The same provision appears in the Funai Service Contract (Wyatt Dec. Exh.
F. ECF 571-6, p. 6) and the Expeditors Service Contract (Wyatt Dec. Exh. H. ECF 571-8, p. 6, p. 5). APEX is
reliably informed by counsel for other NVOCCs that ONE issued bills of lading for their clients’ cargoes and that
those bills of lading referenced governing service contracts that also contained these same terms. This ONE-drafted
boilerplate is just as much a “contract of adhesion” as a bill of lading, Mitsui & Co. v. Am. Exp. Lines, Inc., 636 F.2d
807, 822–23 (2d Cir.1981), and should be construed against ONE.
 The identical language appears in ONE’s incorporated Essential Terms Tariff, ONEY-010, at Rule 108. Schmidt
11

Dec., Exh. 4, (ONEY-010 “Essential Terms Tariff” Rule 108, ¶ b, Published on February 15, 2018).


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       On page 21 of the ONE Memo, ONE seeks to avoid this straightforward conclusion by

claiming, erroneously, that there is a conflict between the ONE Bill of Lading and the ONE Service

Contract, and that the subsequently issued ONE Bill of Lading terms control. ONE Memo at p.

27. ONE represents that Clause 11 of its Service Contract “makes clear that the bill of lading terms

control over conflicting service contract terms when it comes to liability for cargo claims.” Id.

ONE also makes the same argument in footnote 15 (ONE Memo, p. 28), citing TMC Co. Ltd. v.

M/V Mosel Bridge for the proposition that a subsequently issued bill of lading supersedes conflict-

ing terms of a previously issued service contract. TMC Co. Ltd. v. M/V Mosel Bridge, No. 01-cv-

9860 (LAK), 2002 WL 1880722 (S.D.N.Y. Aug. 15, 2002).

       However, ONE’s invocation of a conflict in its own unilaterally drafted document is clearly

in error, because there is no conflict whatsoever here between ONE’s Service Contract and ONE’s

Bill of Lading terms. The ONE Bill of Lading forum clause specifically allows ONE to “otherwise

agree” to a different forum than Singapore. Wyatt Dec. Exh. A, ECF 571-1, p. 22, ¶ 25.1. This is

precisely the opposite of the contracts under consideration in M/V Mosel Bridge. There, the bill

of lading made no allowance for alternate jurisdictions, and the service contract provided that terms

of the bill of lading would prevail over inconsistent terms of the service contract. Here, in contrast,

ONE’s Bill of Lading specifically allows possible alternative fora. The Service Contract, which

prevails over the Bill of Lading in respect of jurisdiction issues, contains ONE’s specific agreement

to this forum. Wyatt Dec. Exh. L, ECF 571-12, p. 5, ¶ 19(b). The terms in the two documents are

thus entirely consistent with each other – ONE’s Service Contract agreement to this forum is spe-

cifically permitted by the ONE’s Bill of Lading forum clause. Thus, there is no conflict between

the documents, and no basis for this Court to disregard any of the contractual language, or to hold

that the Bill of Lading overrides the Service Contract. Construing ONE’s Service Contract and




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Bill of Lading terms together, given that there is no conflict, ONE’s agreement to this forum is

unambiguous and absolutely clear.

        Moreover, ONE’s statement that the Bill of Lading governs “when it comes to liability for

cargo claims” entirely misconstrues the analysis. It is not the subject of the case that is relevant,

it is the subject of the Term, which here is about the forum for the dispute and not about the sub-

stantive liability of the parties.

        ONE cites Bank Julius Baer & Co. Ltd. v. Waxfield Ltd., for the proposition that the agree-

ment contained in ONE’s Service Contract to personal jurisdiction in this Court is somehow not

an independent agreement because it was included in a clause also dealing with arbitration. Bank

Julius Baer & Co. Ltd. v. Waxfield Ltd., 424 F.3d 278, 284-85 (2d Cir. 2005) (cited at p. 21 of

ONE’s Memo). However, in Bank Julius Baer the Second Circuit said no such thing; in fact, the

holding in Bank Julius Baer confirms that the Second Circuit’s practice is to read a forum clause

and an arbitration clause to be complementary to each other, without one prevailing over, or nul-

lifying, the other. Id. at 283-84. In Bank Julius Baer, the Court specifically enforced an agreement

to submit to the jurisdiction of the Southern District of New York – precisely what ONE agreed to

do here in its contract, and now opposes. Id. at 282 and 285. The holding in Bank Julius Baer

confirms this Court’s jurisdiction over ONE.

        Likewise, the ONE Memo argues, at footnote 15, that the claims in this Court are not arbi-

trable. ONE Memo, p. 27, citing Calchem Corp. v. Active Sea USA LLC, No. 06-cv-1585 (CPS),

2007 WL 2127188 (E.D.N.Y. July 25, 2007). First, we have already observed that the Service

Contract’s terms predominate except as to the Bill of Lading terms about liability for damage to

persons or property. An arbitration provision is not a term about liability. The only place arbitra-

tion is discussed is in the Service Contract. Second, the Service Contract places no restrictions on




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the subjects of arbitration; the provisions of ¶19(b) of the Service Contract speak to “a[ny] dispute

under this Contract” and provide for resolution by arbitration in New York.

         Calchem is distinguishable in that the forum clause in the bill of lading made no provision

for an alternate jurisdiction as the ONE Bill of Lading does. Further, the Calchem court charac-

terized the service contract as a “separate contract,” whereas the Service Contract here incorporates

the Bill of Lading. Treating the service contract as a “separate contract” could justify the Calchem

court’s determination that the arbitration provision in the service contract applied only to disputes

under that document’s terms. Such a limited reading is not justified here where the Bill of Lading

terms are incorporated into, and subordinate (except in limited circumstances) to the terms of the

Service Contract, and the former allows an agreement to an alternative jurisdiction, and the latter

names one.

         Whether the claims against ONE are, or are not, susceptible to arbitration has nothing to

do with whether ONE agreed to jurisdiction here in the Southern District of New York.

         There is no qualifying language in the Service Contract stating that the agreement only

applies under certain circumstances, or is subject to certain contingencies or conditions, or only to

enforcement of a right to arbitration or arbitration awards. This is an explicit agreement by ONE

to submit to the personal jurisdiction of this Court, period. If ONE intended to agree to something

less than an outright agreement to be sued here, it could, and should, have written its own unilat-

erally drafted contract differently. The words that ONE chose to include in its Service Contract

state unambiguously, and without qualification, that it consents to jurisdiction in this Court, pre-

cisely as ONE’s Bill of Lading permits it to do. 12



12
  APEX submits that ONE’s choice to litigate a motion to enforce a forum selection clause, rather than a motion to
compel arbitration, all in aid of forcing APEX to litigate in a different forum, rather than arbitrate in New York, is so
completely antithetical to any future claim of a right to arbitrate as to constitute its waiver.


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       Finally, it is respectfully submitted that since it is now clear that ONE, in fact, agreed to

the jurisdiction of this Court, the cases cited in Point I and II of the ONE Memo are not applicable,

as all of those cases presuppose a mandatory forum selection clause which requires suit in another

court. That is simply not the case here. ONE’s agreement to suit in this Court, in its Service

Contract and its own Essential Terms Tariff, as permitted by the terms of the forum clause in its

own Bill of Lading, entirely rules out the application of each of the cases cited in Points I and II

of the ONE Memo. Cases that enforce mandatory forum clauses that require suit to be filed else-

where have no relevance when the carrier agreed to suit here.


                          : EVEN IF THE FORUM SELECTION CLAUSE
                            MET THE OTHER REQUIREMENTS FOR
                            ENFORCEMENT, THE EXCEPTIONAL
                            CIRCUMSTANCES FOUND IN COMPLEX
                            MARITIME LIMITATION PROCEEDINGS,
                            AS WELL AS OTHER LARGE MULTI-PARTY
                            ACTIONS, OVERCOME THE PRESUMPTION
                            OF ENFORCEABILITY.

       APEX further submits that ONE’s motion does not survive the fourth prong of the Phillips

analysis. The Second Circuit has set out circumstances that rebut the presumption of enforceability

in Roby v. Corp. of Lloyd's, 996 F.2d 1353 (2d Cir. 1993), cert. den. 510 U.S. 945 (1993):

   1. Was incorporation into the agreement the result of fraud or overreaching?
   2. Will the complaining party for all practical purposes be deprived of his day in court, due
      to the grave inconvenience or unfairness of the selected forum?
   3. Does the fundamental unfairness of the chosen law deprive the plaintiff of a remedy?
   4. Does the clause contravene a strong public policy of the forum state?

See, Roby at 1363.

       The first element of “fundamental unfairness” emerges from a reading of ONE’s Singapore

Solicitor’s declaration. Mr. Wai concludes that if litigated in Singapore, the High Court will apply

the domestic law of Singapore in the form of the Convention of Limitation of Liability for Mari-




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time Claims. He opines that ONE’s maximum liability as a slot charterer under this regime is

about $16 million, versus asserted liabilities in the range of $75-80 million. Wai Dec. in Support.

ECF-572 at 3-4; 10.

       This is directly at odds with relevant U.S. law as applicable pursuant to the terms of ONE’s

bill of lading. It is not only COGSA that ONE’s bill of lading incorporates in Clause 26, but the

whole of U.S. law. See Clause 25.2:

       For shipments to or from the United States of America (including its districts terri-
       tories and possessions), the contract evidenced by or contained in this Bill shall
       be governed by U.S law.

       U.S. law does not recognize the right of a slot charterer to seek exoneration from or limi-

tation of liability under the Limitation Act. This right accrues to the owner, 46 U.S.C.A. § 30501

et seq., a term which is defined to include a bareboat charterer. A “slot charterer” does not qualify,

and under governing U.S. law, ONE would remain exposed to liability to the full extent of the

claims asserted subject only to its COGSA and other defenses. ONE’s evident plan is to subvert

its contractual commitment embodied in its bill of lading to the application of U.S. law by engaging

a foreign court to accomplish what it cannot accomplish here.

       Further, it is noteworthy that even if the Court were to grant the instant motion, a substantial

number of claims involving ONE’s interests (asserted by its insurer) in this litigation would remain

to be heard here in this Court. This is because among the thousands of claims filed by Hill Rivkins

Claimants in this action (ECF-233) are claims for damage to 508 of ONE’s shipping containers

aboard the M/V YANTIAN EXPRESS. The full schedule of ONE’s claims, listing claims for

every single ONE shipping container aboard the M/V YANTIAN EXPRESS, all 508 of them,

claiming for damage, general average, and salvage damages, can be found at ECF-233-13, pages

2-12. Any recovery made by ONE’s insurer will benefit ONE, whether through premium consid-




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erations, or return of deductibles incurred by ONE, or otherwise. It is plainly inequitable to allow

ONE to reap the rewards of litigation here, while forcing APEX to pursue its claims in Singapore.

See e.g., In re Deleas Shipping Ltd., 1995 WL 848559, at *1 (W.D. Wash. Oct. 27, 1995) (forum

selection clause governing claims against Hyundai not enforced where Hyundai itself claimed in

the limitation action).

       In its Memo, ONE relies extensively on the Shaban case for the proposition that an “up-

stream” party in a chain of transportation contracts, is bound to the terms of the downstream car-

rier’s contract made by the intermediary that selected the downstream carrier. Mahmoud Shaban

& Sons v. Mediterranean Shipping Co., S.A. No. 11-cv-6322 (TPG), 2013 WL 316151 (S.D.N.Y.

Jan. 28, 2013) cited in ONE Memo at p. 16. Here, APEX selected ONE as the carrier of the

coconut water, and ONE, as APEX’s intermediary, arranged for the carriage to be performed by

HAPAG. Hapag, the ultimate “downstream” party, has determined to proceed in this jurisdiction.

How can ONE contend that the “stream” ends with it, rather than the actual vessel operator and

limitation plaintiff, HAPAG?

       Enforcement of forum selection clauses for individual claimants or defendants in the con-

text of a limitation proceeding vitiates the fundamental purpose of the proceeding and thus violates

public policy. Judge A.N. Hand explained the purpose and value of the concursus effected by a

limitation action.

       The purpose of a limitation proceeding is not merely to limit liability but to bring
       all claims into concourse and settle every dispute in one action. As was said by the
       Supreme Court in Metropolitan Redwood Lumber Co. v. Doe, The San Pedro, 223
       U.S. 365, 371, 32 S.Ct. 275, 56 L.Ed. 473, Ann.Cas.1913D, 1221: “The very nature
       of the proceeding is such that it must be exclusive of any separate suit against an
       owner on account of the ship.”




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       The general desirability of bringing all claims into concourse when once a limita-
       tion proceeding has been instituted and the plain jurisdiction of the court to effect
       such, a result was clearly stated by the Supreme Court in Hartford Accident & In-
       dem. Co. v. Southern Pacific Co., 273 U.S. 207 (1927): “It is quite evident from
       these cases that this court has by its rules and decisions given the statute a very
       broad and equitable construction for the purpose of carrying out its purpose, and
       for facilitating a settlement of the whole controversy over such losses as are com-
       prehended within it, and that all the ease with which rights can be adjusted in equity
       is intended to be given to the proceeding. It is the administration of equity in an
       admiralty court.

The Quarrington Court, 102 F.2d 916 (2d Cir. 1939) at 919, cert. den. 307 U.S. 645 (1939).

       As later stated in Maryland Casualty Co. v. Cushing, 347 U.S. 409, 74 S.Ct. 608, 98 L.Ed.

806 (1954),

       The heart of [the limitation] system is a concursus of all claims to ensure the prompt
       and economical disposition of controversies in which there are often a multitude of
       claimants. . . . Moreover, it is important to bear in mind that the concursus is not
       solely for the benefit of the shipowner. The elaborate notice provisions of the Ad-
       miralty Rules are designed to protect injured claimants.

Id., at 415, 417, 74 S.Ct. at 611, 612.

       As a result, limitation proceedings are a recognized exception to otherwise enforceable

forum selection clauses. In the case In re Rationis Enterprises, Inc. of Panama, 97 CV 9052 (RO),

1999 WL 6364 (S.D.N.Y., Jan. 7, 1999), the District Court was confronted with a limitation action,

that, as here, involved hundreds of claims and many millions of dollars asserted against the vessel

owner and slot charterers that operated together under a vessel sharing agreement.

       One of the slot charterers sought to enforce its foreign forum selection clause. There, as

here, a slot charterer that sought a forum non conveniens dismissal. However, as here, that slot

charterer’s insurer had filed a claim in the limitation proceeding. In resolving the motion, the

court, citing Quarrington Court, observed that “The unusual size and complexity of this matter

render arguments of judicial economy and equity particularly strong in this case.” The Rationis



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court distinguished those cases in which the concerned slot charterer had enforced the same clause,

where simple breaches and single claimants were involved. Rationis, to the contrary, involved:

           . . . myriad global origins of the shipments of cargo . . . It is, however, manifestly
           the Supreme Court’s preferential view, flowing as it does from a common-sense
           appraisal of the situation and the conservation of international judicial resources,
           that the goal of settling “the whole controversy” is to be pursued where possible.

Id. at footnote 5.

           Likewise, in Deleas Shipping, a limitation proceeding hearing a concursus of claims arising

out of the fire aboard the M/V Hyundai Seattle, the Court refused to enforce a forum selection

clause mandating litigation in South Korea. The Court recognized that the point of a limitation

proceeding is to bring all claims into one action, which would be frustrated by enforcing forum

clauses. On the same basis, the court refused to enforce an arbitration clause contained in a charter

party, noting that it had jurisdiction to refuse to do so “to achieve the underlying purposes of the

Limitation of Liability Act.” Id.

           Similarly, in Complaint of Ballard Shipping Co., 752 F.Supp. 546, 549 (D.R.I. 1990), a

limitation proceeding arising out of a vessel grounding, the court explicitly recognized that a fed-

eral limitation proceeding presents a different circumstance, and that it is “antithetical to the very

nature of a limitation proceeding” to have different claims arising out of the same incident to be

resolved in different actions.

           It bears repeating that the substantive rights of the parties should 13 be governed by U.S.

law under the terms of the ONE bill of lading (Wyatt Exh. A ¶26) as incorporated into its ONEY-

020 bill of lading tariff (Wyatt Exh. B ¶26), both as components of the Service Contract, and under

COGSA. Vimar Seguros y Reaseguros, S.A. v. M/V Sky Reefer, 515 U.S. 528 (1995). Even as-

suming that the High Court would apply U.S. law – a proposition in more than considerable doubt


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     We say “should” because Mr. Wai’s Declaration evinces a plan to seek the application of Singapore law.


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– that both this Court and the High Court of Singapore should be required to essentially duplicate

these proceedings for a limited subset of the claims now pending here, when the parties to those

claims would still be present in this action, represents the height of international judicial ineffi-

ciency.

          The Rationis court declined to enforce the forum selection clause in similar circumstances,

noting:

          Unjustifiably giving effect to all of the various forum clauses in a cargo situation
          of this complexity and global magnitude would fragment this case beyond recogni-
          tion.

Id. at *3. Cases enforcing forum selection clauses in the maritime context have routinely distin-

guished their facts from those in Rationis that are also present here. See, e.g., Indem. Ins. Co. of

N. Am. v. K-Line Am., Inc., No. 06 CIV. 0615 (BSJ), 2008 WL 4922327, at *8 (S.D.N.Y. Feb. 27,

2008) (“In re Rationis involved hundreds of plaintiffs and over $130 million in claims; the court

accordingly noted that ‘[t]he unusual size and complexity of this matter render arguments of judi-

cial economy and equity particularly strong in this case,’ id., 1999 WL 6364, at *3. The size and

scope of this case pale in comparison and do not justify overriding the forum selection clause

here.”); Am. Home Assur. Co. v. M/V JAAMI, No. 06 CIV. 287 (LBS), 2007 WL 1040347, at *3

(S.D.N.Y. Apr. 4, 2007) (“In [Rationis], the court found that the enforcement of a foreign forum

selection clause in a limitation of liability proceeding would be unjust because of the unusual size

and complexity of the case (there were hundreds of claimants), because it would contravene the

very purpose of a limitation proceeding which is to “bring all claims into concourse and settle

every dispute in one action,” and because the vessel owner had waived the clause by filing a claim

in the limitation proceeding. . . . None of these concerns is present in the instant case.”); Abrar

Surgery Ltd. v. M.V. JOLLY ORO, No. 97 CIV 8865 (MBM), 1999 WL 295003, at *3 (S.D.N.Y.




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May 11, 1999) (recognizing that Rationis limitation proceeding involved hundreds of claimants,

and therefore was different from an ordinary cargo case). 14

         When confronted with circumstances like those found in Rationis and here, the policy fa-

voring enforcement of forum selection clauses yields. See, LaSala v. E*Trade Sec. LLC, No. 05

CIV. 5869 (SAS), 2005 WL 2848853, at *6 (S.D.N.Y. Oct. 31, 2005):

         Moreover, although this Circuit has a strong policy in favor of enforcing forum-
         selection clauses, this case represents a rare exception where enforcing such a
         clause would be unreasonable. Even if I dismissed this action for improper venue,
         E*TRADE would still remain in this Court as a defendant in the IPO Litigation.
         Thus, enforcing the forum selection clause would exacerbate, rather than amelio-
         rate, defendant's burden. More generally, it would be an egregious waste of judicial
         resources to require that the parties litigate this one action in San Francisco while
         the IPO Litigation, and several dozen LaSala Actions, are still pending in a court
         uniquely familiar with the underlying facts common to all of these proceedings.
         For these reasons, the forum selection clause provides no basis to deny the motion
         to stay.

         Here, granting ONE’s motion for dismissal would work a grave injustice by allowing ONE

the opportunity to avoid its contractual obligations under U.S. law through the application of a

limitation of liability scheme to which it is not entitled. Further, such a dismissal would cause a

fragmentation of the case that would lead to judicial inefficiency. The proposed duplicative liti-

gation in Singapore would require the Singapore court to apply U.S. law including COGSA to

determine the respective rights and obligations of the parties. Public policy is not served by such

fragmentation and by requiring the foreign court to address U.S. law, especially when both oppos-


14
   Additional cases which reflect judicial recognition that maritime limitation proceedings are exceptions to the rule
favoring enforcement of forum selection clauses include Quail Cruises Ship Mgmt., Ltd. v. Agencia de Viagens CVC
Tur Limitada, No. 09-23248-CIV, 2011 WL 4389905, at *6, Fn. 5 (S.D. Fla. Sept. 21, 2011) (recognizing limitation
proceeding as exception); Matter of Complaint of Atl. Marine Prop. Holding Co., Inc., No. CV 06-0100-CG-B, 2008
WL 11389577, at *2 (S.D. Ala. Aug. 1, 2008) (recognizing that forum clauses are not enforceable in a limitation
proceeding, and only enforcing them in the context of contract claims not arising out of the casualty); Asoma Corp. v.
M/V SOUTHGATE, No. 98 CIV. 7407 (CSH), 1999 WL 1115190, at *5 (S.D.N.Y. Dec. 7, 1999) (distinguishing
Rationis from ordinary cargo case); MTR Gaming Grp., Inc. v. Arneault, 899 F. Supp. 2d 367, 375 (W.D. Pa. 2012)
(recognizing a large limitation proceeding presents a different circumstance from an ordinary litigation); Vogt-Nem,
Inc. v. M/V Tramper, 263 F. Supp. 2d 1226, 1233 (N.D. Cal. 2002) (distinguishing Rationis from ordinary maritime
case).


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ing parties will remain parties in this action as well. Further, it is self-evident that to require that

APEX litigate the same case in two fora at considerable expense and the risk of inconsistent out-

comes is gravely inconvenient.

        The Motion should be denied because the presumption of enforceability has been rebutted

since “enforcement would be unreasonable or unjust” Phillips, supra, because it would violate this

forum’s strong policy in favor of judicial efficiency and because it would be unfair to APEX in all

the circumstances present here. Roby, supra.


                                           CONCLUSION

        There is thus no properly contested issue here for the Court to decide – ONE’s motion fails

entirely.

        ONE has “otherwise agreed” to the personal jurisdiction of this Court for all of the ship-

ments that are at issue here, in full accord with its Service Contract, its Bill of Lading, and its

Essential Terms Tariff.

        Even if the Court determines that ONE’s forum selection clause would otherwise be enti-

tled to enforcement, ONE’s motion should nevertheless be denied on the basis that it fails the Roby

tests of (1) the fairness of the law that will be applied in Singapore and (2) this forum’s policy

favoring judicial efficiency and economy. Large maritime limitation actions present recognized

exceptions to the general rule favoring enforcement of forum selection clauses because otherwise

the purpose of such proceedings, a concursus of all claims in one forum, would be frustrated. This

case should proceed to be heard on the merits with all necessary parties, including ONE, before




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this single Court, along with the claims against the other ocean carriers, HAPAG and YML. This

is a just outcome, and efficient in terms of judicial and party resources.

       WHEREFORE, it is respectfully requested that the Motion be, in all respects, denied.


                                               Respectfully submitted,

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